          Case 5:14-cv-01157-R Document 30 Filed 04/16/15 Page 1 of 1



                    UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF OKLAHOMA

ALICIA MARQUIS and                            )
GARRETT KING,                                 )
                                              )
              Plaintiffs,                     )
                                              )
v.                                            )
                                              )
NORTH STAR MUTUAL                             )   Case No.: 14-CV-1157-R
INSURANCE COMPANY,                            )
                                              )
              Defendant.                      )


            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       The following parties to this lawsuit, Plaintiffs, Alicia Marquis and Garrett King, and

Defendant, North Star Mutual Insurance Company, pursuant to Fed. R. Civ. P. 41, stipulate

this case should be dismissed with prejudice. All respective parties to bear their respective

attorney fees and costs.

       Dated on April 16, 2015.



s/ Kent R. McGuire                                /s Brad L. Roberson
(Signed by filing attorney with                   Brad L. Roberson, OBA No. 18819
permission of attorney)                           PIGNATO, COOPER, KOLKER & ROBERSON, P.C.
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ATTORNEYS FOR PLAINTIFFS
